              Case 6:22-bk-03123-LVV        Doc 3    Filed 08/31/22     Page 1 of 6



                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

In re:
                                                    CASE NO. 6:22-bk-03123-LVV
LEGACY POOLS, LLC,                                  CHAPTER 11

                                                    Subchapter V Election
      Debtor.
_________________________________/

                            CASE MANAGEMENT SUMMARY

         LEGACY POOLS, LLC, (“Legacy Pools” or “Debtor”), by and through its undersigned

counsel, and pursuant to Administrative Order FLMB 2009-1 and Local Rule 2081-1(b), hereby

files its Chapter 11 Case Management Summary and states as follows:

         1.    On August 30, 2022 (the “Petition Date”), Debtor filed its voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”). Debtor

continues to operate its business and manage its assets as a debtor-in-possession in accordance

with its duties and responsibilities under the Bankruptcy Code.

                             Description of the Debtor’s Business

         2.    Legacy Pools is a closely held Florida limited liability company organized on

August 24, 2017 which conducts business from a leased warehouse/office located at 727 North

Drive, Suite L, Melbourne Florida 32934. The Debtor launched its business in the Fall of 2018

specializing in the design and construction of in-ground luxury pools and spas, positioning itself

in the market as a high-volume pool builder achieving first-year sales of over one hundred and

thirty (130) pools.

                                Reasons for Filing Bankruptcy

         3.    At the height of the Debtor’s popularity it was directly impacted by COVID-19

which caused major disruptions to the Debtor’s business and the swimming pool construction

                                                1
             Case 6:22-bk-03123-LVV         Doc 3     Filed 08/31/22    Page 2 of 6



industry as a whole. During the First Quarter of 2020, Debtor’s production slowed due to a

decrease in demand, and its projects were delayed as employees became sick and social distancing

measures were put in place at job sites. In addition, as the economy suffered and layoffs became

prominent, customers began slow paying or not paying their required contractual progress

payments which further impacted Debtor’s financial condition.

       4.      Supply chain issues further hampered the Debtor’s operations and caused

significant material cost increases. For each of its pool projects, Debtor utilizes a wide array of

raw materials including PVC, lumber, and concrete to fulfill its customers’ contracts. The raw

materials used by the Debtor in nearly every project have been on backorder since the middle of

2020, and when available, these materials are often triple their pre-pandemic price. These supply

chain delays, shortages and cost increases have directly impacted Debtor’s ability to meet its

construction timelines and client demands. The increased cost of raw materials contributed to a

significant increase in the Debtor’s overhead, which already included an average annual payroll

budget of $1.6 million for its 32-employees.

       5.      Due to supply chain issues, increasing material costs, slow paying customers, and

other disruptions caused by the pandemic, it quickly became difficult for the Debtor to meet its

overhead obligations. To bridge the gap and aid its ability to pay its operating expenses, Debtor

entered into two (2) separate merchant cash advance lending arrangements with MCA Servicing

Company and Samson MCA, LLC (collectively, the “MCA Providers”). Unfortunately, rather than

aid the Debtor’s ability to meet its ongoing obligations, the MCA Providers bilked the Debtor of

available operating funds which compounded the Debtor’s poor financial condition.

       6.      Faced with ongoing litigation, the prospect of additional lawsuits, potential

licensing issues, and creditor collection efforts, Debtor elected to pursue Chapter 11 relief to



                                                2
             Case 6:22-bk-03123-LVV           Doc 3     Filed 08/31/22      Page 3 of 6



restructure its financial affairs for the benefit of its various stakeholders and continue the operation

of its pool construction business.

                                     Debtor’s Revenue Statistics

       7.      Year-to-Date Legacy Pools generated an estimated revenue of $4,483,587.89. The

Debtor generated approximately $10,000,000.00 in gross revenue in 2021 and $9,613,657.00 in

gross revenue in 2020.

                   Ownership Interests in Debtor and the Debtor’s Officers

       8.      The Debtor is owned by Charles David Black, who owns 100% of the membership

interests in Legacy Pools, LLC.

                         Amounts Owed to Various Classes of Creditors

       9.      As of the Petition Date, Debtor believes there are approximately $4 million in

secured claims and $460,000.00 in unsecured claims which have accrued in connection with trade

vendor invoices and credit card usage.

       10.     Debtor believes it is current on its tax obligations to the IRS as well as the Florida

Department of Revenue.

               General Description and Approximate Value of Debtor’s Assets

       11.     The Debtor owns accounts receivable in the approximate amount of $1,000,000.00

(the collectible value of which is uncertain), $2,000.00 cash on hand, under $10,000.00 in tooling

and $70,000.00 in financed earth-moving equipment, approximately $10,000.00 in office

equipment and furniture; $30,000.00 of raw materials and financed vehicles worth approximately

$300,000.00 (although a formal valuation has not been completed).

                           Number of Employees and Amounts Owed

       12.     As of the Petition Date, the Debtor has 7 employees who complete various tasks

for the Debtor including: operations management, permitting, and quality control, engineering and

                                                   3
             Case 6:22-bk-03123-LVV       Doc 3   Filed 08/31/22    Page 4 of 6



project management. The employees are paid weekly with the next payroll scheduled to be made

on or before September 2, 2022 in the approximate amount of $7,000.00.

   Anticipated Emergency Relief to be requested within 14 days from the Petition Date

       13.    Emergency Motion for Authorization to Use Cash Collateral

       14.    Emergency Motion for Approval of Post-Petition Financing

       15.    Emergency Motion for Authority to Pay Prepetition Wages

       16.    Emergency Motion for Authority to Pay Critical Vendors

RESPECTFULLY SUBMITTED this 31st day of August, 2022

                                              /s/ Daniel A. Velasquez
                                              Daniel A. Velasquez, Esq.
                                              Florida Bar No. 098158
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                                              4
            Case 6:22-bk-03123-LVV         Doc 3    Filed 08/31/22    Page 5 of 6



                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

In re:
                                                   CASE NO. 6:22-bk-03123-LVV
LEGACY POOLS, LLC,                                 CHAPTER 11

                                                   Subchapter V Election
      Debtor.
_________________________________/

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the CASE MANAGEMENT SUMMARY has
been furnished either electronically and/or by U.S. First Class, postage prepaid mail to: Legacy
Pools, LLC, 727 North Drive, Suite L, Melbourne, Florida 32934; all parties entitled to receive
electronic noticing via CM/ECF; the twenty largest unsecured creditors as shown on the matrix
attached, and the U.S. Trustee, 400 W. Washington Street, Suite 1100, Orlando, Florida 32801
this 31st day of August, 2022.


                                               /s/ Daniel A. Velasquez
                                               Daniel A. Velasquez, Esq.




                                               5
                                  Case 6:22-bk-03123-LVV       Doc 3        Filed 08/31/22   Page 6 of 6
Label Matrix for local noticing                Legacy Pools LLC                                Ally Financial
113A-6                                         727 North Drive                                 P.O. Box 380901
Case 6:22-bk-03123-LVV                         Suite L                                         Minneapolis, MN 55438-0901
Middle District of Florida                     Melbourne, FL 32934-9233
Orlando
Wed Aug 31 18:06:18 EDT 2022
American Express                               Ascentium Capital, LLC                          Brevard County Tax Collector
P.O. Box 981535                                23970 Highway 59 N                              Attn: Honorable Lisa Cullen, CFC
El Paso, TX 79998-1535                         Kingwood, TX 77339-1535                         Post Office Box 2500
                                                                                               Titusville FL 32781-2500


CIA                                            Charles David Black                             Ewing Irrigation &
North Dow, LLLP                                727 North Drive                                 Landscape Supply
4320 Woodland Park Drive, W                    Suite L                                         Parker Law Firm Attn: Mike Allen
Melbourne, FL 32904-2098                       Melbourne, FL 32934-9233                        11801 N. Tatum Blvd. Ste 229
                                                                                               Phoenix, AZ 85028-1642

Florida Department of Revenue                  Florida Water Products                          Ford Credit
Bankruptcy Unit                                2720 Center Place                               P.O. Box 452000
Post Office Box 6668                           Melbourne, FL 32940-7130                        Omaha, NE 68154-8000
Tallahassee FL 32314-6668


Guniters LLC                                   Internal Revenue Service                        Keystone Equipment Finance Corp.
415 Page St.                                   Post Office Box 7346                            P.O. Box 330429
Orlando, FL 32806-4045                         Philadelphia PA 19101-7346                      West Hartford, CT 06133-0429



MCA Servicing Company                          Prestige Gunite                                 Pursuit Investments
1617 SE 11th Street                            3825 Selvitz Rd.                                2073 Sorento Circle
Fort Lauderdale, FL 33316-1443                 Fort Pierce, FL 34981-4726                      Melbourne, FL 32904-3113



SCP Distributors                               Samson MCA LLC                                  Stuart Langley
485 Distribution Drive, W.                     17 State Street                                 2734 Sam Snead St
Melbourne, FL 32904-1110                       6th Floor                                       Melbourne, FL 32904-6618
                                               New York, NY 10004-1501


U.S. Small Business Admin.                     United States Trustee - ORL                     Daniel A Velasquez
233 Peachtree Street NE                        Office of the United States Trustee             Latham, Luna, Eden & Beaudine, LLP
Suite 1800                                     George C Young Federal Building                 201 S. Orange Ave., Ste. 1400
Atlanta, GA 30303-1508                         400 West Washington Street, Suite 1100          Orlando, FL 32801-3483
                                               Orlando, FL 32801-2210

End of Label Matrix
Mailable recipients      23
Bypassed recipients       0
Total                    23
